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The following constitutes the ruling of the court and has the force and effect therein described.




Signed March 19, 2023
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

      In re:                                              Chapter 11

      HIGHLAND CAPITAL MANAGEMENT, L.P.                   Case No. 19-34054 (SGJ)

                                     Debtor.




         ORDER APPROVING STIPULATION TO EXTEND REORGANIZED DEBTOR'S
             RESPONSE DATE AND MOVANTS' REPLY DATE WITH RESPECT
                   TO MOTION FOR LEAVE TO FILE PROCEEDING

               Upon consideration of the Stipulation to Extend Reorganized Debtor's Response Date and

     Movants' Reply Date with Respect to Motion for Leave to File Proceeding [Docket No. 3679] (the

     "Stipulation") by and between Highland Capital Management, L.P., the reorganized debtor

     ("HCMLP"), and the Movants (The Dugaboy Investment Trust ("Dugaboy") and Hunter Mountain



     ORDER APPROVING STIPULATION TO EXTEND REORGANIZED DEBTOR'S RESPONSE DATE AND
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Investment Trust ("Hunter Mountain" and collectively with Dugaboy, "Movants")). Movants and

HCMLP (together, the "Parties"), it is HEREBY ORDERED THAT:

         (1)      The Response Deadline is extended to Monday, March 27, 2023, at 5:00 p.m.

(Central Time).

         (2)      The Reply Deadline is extended to Monday, April 10, 2023, at 5:00 p.m. (Central

Time).

         (3)      The Court shall retain jurisdiction over all disputes arising out of or otherwise

concerning the interpretation and enforcement of this Stipulation.




                                      ###END OF ORDER###



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ORDER APPROVING STIPULATION TO EXTEND REORGANIZED DEBTOR'S RESPONSE DATE AND
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